                    Case 4:21-cr-40010-MRG                    Document 25-1           Filed 03/04/21          Page 1 of 2
<::.JS 45 (5/97)- (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet                                                             U.S. District Court - District of Massachusetts

Place of Offense:                              Category No.     II                   Investigating Agency        FBI/DHS/IRS/USPIS

City       Worcester                                    Related Case Information:

County         Worcester                               Superseding Ind./ Inf.                          Case No.
                                                       Same Defendant                           New Defendant ----
                                                       Magistrate Judge Case Number               21-MJ-4027
                                                       Search Warrant Case Number           ------------
                                                                                            20-MJ-4132
                                                       R 20/R 40 from District of

Defendant Information:

Defendant Name           Alan Joseph                                              Juvenile:             D Yes [Z]No
                          Is this person an attorney and/or a member of any state/federal bar:          D Yes [Z] No
Alias Name

Address                   (City & State) Worcester, MA

Birth date (Yr only): I 988 SSN (last4#): 8355             Sex M           Race: Black               Nationality: ________

Defense Counsel if known:                                                           Address

Bar Number

U.S. Attorney Information:

AUSA          John T. Mulcahy                                             Bar Number if applicable      670606

Interpreter:              D Yes          [Z]No                 List language and/or dialect:

Victims:                 [Z]Yes 0No Ifyes, are there multiple crime victims under 18 USC§377l(d)(2)              D Yes [Z]No
Matter to be SEALED:                    D Yes [ZJ No
          Owarrant Requested                             [Z] Regular Process                   D In Custody
Location Status:

Arrest Date

□ Already in Federal Custody as of -----------                                         In

□ Already in State Custody at ----------- Oserving Sentence                                            D waiting Trial
[Z]on Pretrial Release:           Ordered by:          Judge Hennessy                    on        2/4/2021

Charging Document:                       □ complaint                 0Information                   [Z] Indictment
Total# of Counts:                        □ Petty                     0Misdemeanor                   [Z] Felony 1-4, 5
                                                Continue on Page 2 for Entry of U.S.C. Citations

         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

Date:                                               Signature of AUSA:          1,MJ�A
                                                                          J
Case 4:21-cr-40010-MRG   Document 25-1   Filed 03/04/21   Page 2 of 2
